               Case 5:18-cr-00258-EJD Document 805 Filed 05/27/21 Page 1 of 4




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 JEFF SCHENK (CABN 234355)
   JOHN C. BOSTIC (CABN 264367)
 5 ROBERT S. LEACH (CABN 196191)
   KELLY I. VOLKAR (CABN 301377)
 6 Assistant United States Attorneys

 7           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 8           Telephone: (408) 535-5061
             Fax: (408) 535-5066
 9           Robert.Leach@usdoj.gov

10 Attorneys for United States of America

11                                   UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                           SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                       )   Case No. 18-CR-00258 EJD
                                                     )
15           Plaintiff,                              )   UNITED STATES’ PROPOSED
                                                     )   JURY VERDICT
16      v.                                           )
                                                     )   Trial Date: August 31, 2021
17   ELIZABETH HOLMES,                               )   Court: Hon. Edward J. Davila
                                                     )
18           Defendant.                              )
                                                     )
19                                                   )

20           The United States respectfully submits its Proposed Jury Verdict Form.
21 DATED: May 27, 2021                                          Respectfully submitted,
22                                                              STEPHANIE M. HINDS
                                                                Acting United States Attorney
23

24                                                              ________________________
                                                                JEFF SCHENK
25                                                              JOHN C. BOSTIC
                                                                ROBERT S. LEACH
26                                                              KELLY I. VOLKAR
                                                                Assistant United States Attorneys
27

28

     U.S.’ PROPOSED JURY VERDICT FORM,
     CASE NO. CR 18-258 EJD                         1
                  Case 5:18-cr-00258-EJD Document 805 Filed 05/27/21 Page 2 of 4




 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                           SAN JOSE DIVISION

11   UNITED STATES OF AMERICA,                       ) Case No. 18-CR-00258 EJD
                                                     )
12           Plaintiff,                              )
                                                     ) VERDICT FORM
13      v.                                           )
                                                     )
14   ELIZABETH HOLMES,                               )
                                                     )
15           Defendant.                              )
                                                     )
16

17           We, the members of the Jury in the above-entitled case, unanimously find the defendant,
18 Elizabeth Holmes:
19           1.       __________________ [GUILTY / NOT GUILTY] of the charge Conspiracy to Commit
20 Wire Fraud against Theranos Investors in violation of 18 U.S.C. § 1349, as charged in Count One of the

21 Third Superseding Indictment.

22           2.       __________________ [GUILTY / NOT GUILTY] of the charge Conspiracy to Commit
23 Wire Fraud against Theranos Patients in violation of 18 U.S.C. § 1349, as charged in Count Two of the

24 Third Superseding Indictment.

25           3.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in
26 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $99,990 on or about December 30,

27 2013, as charged in Count Three of the Third Superseding Indictment.

28

     JURY VERDICT FORM,
     CASE NO. CR 18-258 EJD                         1
                 Case 5:18-cr-00258-EJD Document 805 Filed 05/27/21 Page 3 of 4




 1          4.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

 2 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $5,349,900 on or about December

 3 31, 2013, as charged in Count Four of the Third Superseding Indictment.

 4          5.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

 5 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $4,875,000 on or about December

 6 31, 2013, as charged in Count Five of the Third Superseding Indictment.

 7          6.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

 8 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $38,336,632 on or about February 6,

 9 2014, as charged in Count Six of the Third Superseding Indictment.

10          7.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

11 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $99,999,984 on or about October 31,

12 2014, as charged in Count Seven of the Third Superseding Indictment.

13          8.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

14 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $5,999,997 on or about October 31,

15 2014, as charged in Count Eight of the Third Superseding Indictment.

16          9.       __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

17 violation of 18 U.S.C. § 1343, in connection with a telephone call from Patient B.B. to Theranos

18 regarding laboratory blood test results on or about October 12, 2015, as charged in Count Nine of the
19 Third Superseding Indictment.

20          10.      __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

21 violation of 18 U.S.C. § 1343, in connection with Patient E.T.’s laboratory blood test results on or about

22 May 11, 2015, as charged in Count Ten of the Third Superseding Indictment.

23          11.      __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

24 violation of 18 U.S.C. § 1343, in connection with Patient M.E.’s laboratory blood test results on or about

25 May 16, 2015, as charged in Count Eleven of the Third Superseding Indictment.

26 ///

27 ///

28 ///

     JURY VERDICT FORM,
     CASE NO. CR 18-258 EJD                          2
             Case 5:18-cr-00258-EJD Document 805 Filed 05/27/21 Page 4 of 4




 1          12.    __________________ [GUILTY / NOT GUILTY] of the charge of Wire Fraud, in

 2 violation of 18 U.S.C. § 1343, in connection with a wire transfer of $1,126,661 on or about August 3,

 3 2015, as charged in Count Twelve of the Third Superseding Indictment.

 4

 5 DATED:                                               _______________________
                                                        JURY FOREPERSON
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     JURY VERDICT FORM,
     CASE NO. CR 18-258 EJD                        3
